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 1   Karma M. Giulianelli (SBN 184175)                Brendan P. Glackin (SBN 199643)
     karma.giulianelli@bartlitbeck.com                bglackin@agutah.gov
 2   BARTLIT BECK LLP                                 OFFICE OF THE UTAH ATTORNEY
     1801 Wewetta St., Suite 1200                     GENERAL
 3   Denver, Colorado 80202                           160 E 300 S, 5th Floor
     Telephone: (303) 592-3100                        PO Box 140872
 4                                                    Salt Lake City, UT 84114-0872
     Hae Sung Nam (pro hac vice)                      Telephone: (801) 366-0260
 5
     hnam@kaplanfox.com
                                                      Counsel for the Plaintiff States
 6   KAPLAN FOX & KILSHEIMER LLP
     850 Third Avenue
     New York, NY 10022                               Douglas J. Dixon (SBN 275389)
 7                                                    ddixon@hueston.com
     Telephone.: (212) 687-1980
                                                      HUESTON HENNIGAN LLP
 8                                                    620 Newport Center Drive, Suite 1300
     Co-Lead Counsel for the Class in In re Google
                                                      Newport Beach, CA 92660
 9   Play Consumer Antitrust Litigation
                                                      Telephone: (949) 229-8640
10   Paul J. Riehle (SBN 115199)                      Counsel for Plaintiffs Match Group, LLC, et
     paul.riehle@faegredrinker.com                    al.
11   FAEGRE DRINKER BIDDLE & REATH
     LLP                                              Glenn D. Pomerantz (SBN 112503)
12   Four Embarcadero Center, 27th Floor
                                                      glenn.pomerantz@mto.com
     San Francisco, CA 94111
                                                      MUNGER, TOLLES & OLSON LLP
13   Telephone: (415) 591-7500
                                                      350 South Grand Avenue, Fiftieth Floor
14                                                    Los Angeles, California 90071
     Christine A. Varney (pro hac vice)
                                                      Telephone: (213) 683-9100
     cvarney@cravath.com
15   CRAVATH, SWAINE & MOORE LLP
     825 Eighth Avenue                                Brian C. Rocca (SBN 221576)
16   New York, New York 10019                         brian.rocca@morganlewis.com
     Telephone: (212) 474-1000                        MORGAN, LEWIS & BOCKIUS LLP
17                                                    One Market, Spear Street Tower
     Counsel for Plaintiff Epic Games, Inc. in Epic   San Francisco, CA 94105-1596
18   Games, Inc. v. Google LLC et al.                 Telephone: (415) 442-1000
19
                                                      Counsel for Defendants Google LLC et al.
20

21

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     [Additional counsel appear on signature page]
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 1                                UNITED STATES DISTRICT COURT

 2                            NORTHERN DISTRICT OF CALIFORNIA

 3                                     SAN FRANCISCO DIVISION

 4
      IN RE GOOGLE PLAY STORE                                    Case No. 3:21-md-02981-JD
      ANTITRUST LITIGATION
 5
      THIS DOCUMENT RELATES TO:                                  JOINT SUBMISSION
 6
      Epic Games, Inc. v. Google LLC et al.,                     Judge: Hon. James Donato
 7    Case No. 3:20-cv-05671-JD

      In re Google Play Consumer Antitrust
 8    Litigation, Case No. 3:20-cv-05761-JD
 9    State of Utah et al. v. Google LLC et al.,
      Case No. 3:21-cv-05227-JD
10
      Match Group, LLC et al. v. Google LLC et al.,
      Case No. 3:22-cv-02746-JD
11

12          Pursuant to the Court’s January 13, 2023 Order directing the parties to file a joint
13   proposal addressing (1) a date and time for closing arguments regarding the January 12, 2023
14   evidentiary hearing, as well as a plan for responding to the Court’s questions, and (2) the trial
15   date (MDL Dkt. No. 415), Plaintiff Epic Games, Inc., Plaintiffs Match Group, LLC, et al.,
16   Consumer Plaintiffs, State Attorneys General Plaintiffs (collectively, “Plaintiffs”), and
17   Defendants Google LLC et al. (“Google,” and collectively, the “Parties”), by and through their
18   undersigned counsel, submit this Joint Submission.
19                   Resumption of January 12 Hearing & Response to Court’s Questions
20          The Parties jointly called the Courtroom Deputy on January 17, 2023 to ask for the
21   Court’s availability on January 26, 27, 30, and 31 for the resumption of the hearing on chat
22   preservation. Based on the Court’s availability, the Parties propose the hearing take place on
23   January 31, 2023.
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                                                JOINT SUBMISSION
25                          Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD;
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 1            In addition, the Parties propose to submit written responses under oath to the questions in

 2   the Court’s minute order, MDL Dkt. No. 415, seven days in advance of the hearing, on January

 3   24, and any response thereto no later than four days in advance of the hearing, on January 27.1

 4                                                       Trial Date

 5            The Court instructed the Parties to address the trial date for this case and indicated that it

 6   was “contemplating a trial in September or October 2023.” Civil Minutes 2, MDL Dkt. No. 415

 7   (Jan 13, 2023). The Parties have met and conferred regarding an amended trial date but have

 8   been unable to reach agreement. Plaintiffs propose a trial start date of October 2, 2023 and

 9   Google proposes a trial start date of October 23, 2023. The Parties’ respective positions are set

10   forth below. The Parties have agreed that, once the Court selects a trial date, they will meet and

11   confer and propose a schedule of interim dates.

12            Plaintiffs’ Position

13            Plaintiffs respectfully request that the Court set the trial date for Monday, October 2,

14   2023.

15            Trial in this matter has already been delayed several times—from October 17, 2022

16   (MDL Dkt. No. 122) to June 5, 2023 (MDL Dkt. No. 338), and now to the fall of 2023.

17   Plaintiffs believe that additional delay should be minimized and that the case should proceed to

18   trial as soon as practicable after the July 31, 2023 date that the Parties had jointly proposed to the

19   Court (MDL Dkt. No. 392). Accordingly, and consistent with the Court’s January 13, 2023

20   minute entry stating that the Court is “contemplating a trial in September or October 2023”

21   (MDL Dkt. No. 415) and the Court’s statement at the January 12, 2023 hearing that “September

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      Plaintiffs note that they reserve the right to seek to examine any Google witness that submits written testimony
24   under oath.
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                                                    JOINT SUBMISSION
25                              Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD;
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 1   25th is the date [it] had in mind” (2023.01.12 Hearing Tr. 136:7-8), Plaintiffs propose that trial

 2   would begin on October 2, 2023. Although Plaintiffs could be prepared to commence trial on

 3   September 25, 2023, that day is the Jewish holiday of Yom Kippur, so Plaintiffs propose to start

 4   trial the first Monday thereafter.

 5          Plaintiffs object to Google’s proposal to further delay trial by three additional weeks

 6   beyond October 2, 2023. Delaying the trial until October 23, as Google has proposed, is

 7   impracticable and unnecessary. An October 23, 2023 start date would risk pushing the trial

 8   and/or jury deliberations into the Thanksgiving holiday. While Google points to its trial in

 9   United States v. Google LLC, 1:20-cv-03010-APM (D.D.C.), scheduled to begin on

10   September 12, 2023, as a reason for this proposed additional delay, that trial is a bench trial and

11   as Google’s counsel represented at the January 12 hearing, “none of the [outside] lawyers here

12   are involved.” (2023.01.12 Hearing Tr. 143:21-24.) Google’s assertion of a potential overlap in

13   witnesses between the two cases is unlikely to be meaningful; Google has listed 29 former or

14   current Google employees on its most recent initial disclosures in this case, and Plaintiffs will

15   have deposed 39 Google employees; clearly, not all of these individuals will be trial witnesses.

16   In any event, to the extent some witnesses overlap, there should easily be sufficient flexibility in

17   the presentation of evidence and witnesses in both trials for Google to accommodate some

18   overlap in the trial schedules.

19          Google’s Position

20          Google proposes a trial date of October 23, 2023. Plaintiffs’ proposed trial date of

21   October 2 will likely conflict with the trial in United States v. Google, 1:20-CV-03010 (D.D.C.)

22   (“the Search Matter”), which is scheduled for September 12, 2023, before Judge Mehta in the

23   U.S. District Court for the District of Columbia. See ECF No. 108-1, 1:20-CV-03010 (D.D.C.,

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 1   Feb. 3, 2021). The Search Matter concerns different antitrust claims in different alleged markets

 2   for “general search services, search advertising, and general search text advertising in the United

 3   States.” Amended Complaint at 2-3, ECF No. 94, 1:20-CV-03010 (D.D.C., Jan 15, 2021).

 4   However, in support of those claims, the plaintiffs in that matter also include allegations

 5   regarding agreements between Android device manufacturers and Google. Those Android

 6   agreements are also at issue in this case. Id. 24-28.

 7          Based on the allegations in the Search Matter, discovery to date in this case, and

 8   overlapping custodians and deponents between this case and the Search Matter, Google

 9   anticipates that the trials in this case and the Search Matter will have witnesses in common.

10   Indeed, at least 8 of the individuals identified in Google’s initial disclosures in this case are also

11   listed on Google’s initial disclosures in the Search Matter, and 12 of the Google employees or

12   former employees whose depositions were taken in this case also had their depositions taken in

13   the Search Matter. With respect to expert witness, Google has disclosed Prof. Catherine Tucker,

14   an economist, as an expert witness in both cases. And all of the State AG Plaintiffs in this case

15   are also plaintiffs in the Search Matter.

16          In light of the trial date conflict and potential witness scheduling conflicts, it would be

17   unnecessarily disruptive to the trial in this case and unduly prejudicial to Google to proceed on

18   Plaintiffs’ proposed date. Google’s proposal will reduce the risk that the jury will be

19   inconvenienced by the unavailability of witnesses or the need to present witnesses out of order

20   due to scheduling conflicts.

21          Plaintiffs have suggested that, because the trial in the Search Matter is a bench trial,

22   Judge Mehta will have the flexibility to avoid potential witness and counsel conflicts that result

23   from overlapping trials. But that suggestion merely imposes inefficiency and inconvenience on

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 1   another court with a busy docket––inconvenience that can be minimized at the outset by

 2   selecting an October 23 trial date. Nor have Plaintiffs identified any prejudice from an October

 3   23 trial date as compared to an October 2 trial date. Plaintiffs suggest that an October 23 trial

 4   date risks a conflict with Thanksgiving, but October 23 is four and a half weeks before

 5   Thanksgiving, which is November 23. The Court previously indicated that it anticipated an

 6   approximately three-week trial. See Hr'g Tr. at 19 (Dec. 16, 2021).

 7          Google therefore requests that the Court set a trial date of October 23, 2023.

 8

 9
             Dated: January 17, 2023                  CRAVATH, SWAINE & MOORE LLP
10                                                      Christine Varney (pro hac vice)
                                                        Gary A. Bornstein (pro hac vice)
11                                                      Timothy G. Cameron (pro hac vice)
                                                        Yonatan Even (pro hac vice)
12                                                      Lauren A. Moskowitz (pro hac vice)
                                                        Justin C. Clarke (pro hac vice)
13                                                      Michael J. Zaken (pro hac vice)
                                                        M. Brent Byars (pro hac vice)
14
                                                      FAEGRE DRINKER BIDDLE & REATH LLP
15
                                                        Paul J. Riehle (SBN 115199)
16                                                    Respectfully submitted,
17                                                    By: /s/ Lauren A. Moskowitz
                                                         Lauren A. Moskowitz
18
                                                           Counsel for Plaintiff Epic Games, Inc.
19

20
             Dated: January 17, 2023                  BARTLIT BECK LLP
21                                                      Karma M. Giulianelli

22                                                    KAPLAN FOX & KILSHEIMER LLP
                                                        Hae Sung Nam
23

24
                                                        5
                                                JOINT SUBMISSION
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 1                                         Respectfully submitted,

 2                                         By: /s/ Karma M. Giulianelli
                                              Karma M. Giulianelli
 3
                                                Co-Lead Counsel for the Class in In re Google
 4                                              Play Consumer Antitrust Litigation

 5
     Dated: January 17, 2023               PRITZKER LEVINE LLP
 6
                                              Elizabeth C. Pritzker
 7                                         Respectfully submitted,
 8                                         By: /s/ Elizabeth C. Pritzker
                                              Elizabeth C. Pritzker
 9
                                                Liaison Counsel for the Proposed Class in In re
10                                              Google Play Consumer Antitrust Litigation
11

12   Dated: January 17, 2023               OFFICE OF THE UTAH ATTORNEY GENERAL
                                             Brendan P. Glackin
13                                           Lauren Weinstein

14                                         Respectfully submitted,

15                                         By: /s/ Brendan P. Glackin
                                              Brendan P. Glackin
16
                                                Counsel for the Plaintiff States
17

18   Dated: January 17, 2023               HUESTON HENNIGAN LLP
                                             Douglas J. Dixon
19                                           Christine Woodin
                                             Joseph A. Reiter
20
                                           Respectfully submitted,
21
                                           By: /s/ Douglas J. Dixon
22                                            Douglas J. Dixon

23                                              Counsel for Plaintiffs Match Group, LLC et al.

24
                                             6
                                     JOINT SUBMISSION
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 1   Dated: January 17, 2023               MORGAN, LEWIS & BOCKIUS LLP
                                             Brian C. Rocca
 2                                           Sujal J. Shah
                                             Michelle Park Chiu
 3                                           Minna L. Naranjo
                                             Rishi P. Satia
 4
                                           Respectfully submitted,
 5
                                           By: /s/ Brian C. Rocca
 6                                            Brian C. Rocca

 7                                              Counsel for Defendants Google LLC et al.

 8
     Dated: January 17, 2023               MUNGER, TOLLES & OLSON LLP
 9                                           Glenn D. Pomerantz
                                             Kyle W. Mach
10                                           Kuruvilla Olasa
                                             Justin P. Raphael
11                                           Emily C. Curran-Huberty
                                             Jonathan I. Kravis
12

13                                         Respectfully submitted,
14                                         By: /s/ Glenn D. Pomerantz
                                              Glenn D. Pomerantz
15
                                                Counsel for Defendants Google LLC et al.
16

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                                     JOINT SUBMISSION
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 1                                       E-FILING ATTESTATION

 2          I, Dane Shikman, am the ECF User whose ID and password are being used to file this

 3   document. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that each of the

 4   signatories identified above has concurred in this filing.

 5
                                                                    /s/ Dane Shikman
 6
                                                                   Dane Shikman
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